                              IN THE UNITED STATES DISTRICT COURT

                     NORTHERN DISTRICT OF IOWA - CENTRAL DIVISION

DOUGLAS JOHN REINKEN                                                     District Court No.: 16-CV-3096

        Plaintiff,                                                       Lower Court No.: LACV 017721


vs.



BIG GAME TREESTANDS,
MS HOLDINGS, LLC,
MAINSTREAM HOLDINGS, L.L.C.,


        Defendants.



                                                      PREFACE


        Defendants         specifically    deny   the   existence    of,    or    their     participation   in,   any


wrongdoing as alleged in the Complaint. The Defendants further deny each and every


allegation contained in the Complaint, except as specifically admitted. Any factual averment


admitted    is   admitted      only   as   to   the   specific   facts   and     not   as    to   any   conclusions,


characterizations, implications, innuendos, and speculations contained in any averment or in

the Complaint as a whole. Moreover, the Defendants specifically deny any allegations


contained in the headings or unnumbered paragraphs in the Complaint. The Defendants also


deny all allegations that contain legal arguments or conclusions of law as well as those


allegations that do not require a response. These comments and objections are incorporated into


each numbered paragraph of Defendants' answer.


 DEFENDANTS. BGHA. INC. AND MAINSTREAM HOLDINGS. INC.'S. ANSWER TO
                                                  COMPLAINT


        NOW COME Defendants, BGHA, Inc. (improperly identified as Big Game Treestands)


and Mainstream Holdings, Inc. (improperly identified as MS Holdings, LLC and Mainstream




204964158.1 36334/307478
        Case 3:16-cv-03096-LTS-CJW Document 6 Filed 09/08/16 Page 1 of 7
Holdings, L.L.C.) (collectively "Defendants"), by and through their attorneys, Heidman Law


Firm, LLP, and for their answer to Plaintiffs Complaint, state as follows:


         1.      Defendants are without sufficient information to form a belief as to the matters


stated in paragraph 1 of Plaintiffs complaint, and therefore, those allegations are denied.


        2.       Defendants   admit   that   BGHA,    Inc.   (improperly    identified   as   Big   Game


Treestands) is a Minnesota corporation with its principal place of business in Minnesota which is


a distributor of hunting products with distribution in the State of Iowa.


        3.       Defendants admit that Mainstream Holdings, Inc. (improperly identified as MS


Holdings, LLC) is a Minnesota corporation with its principal place of business in Minnesota.


Defendants deny that Mainstream Holdings, Inc. is a manufacturer or distributor of hunting

products in the State of Iowa.


        4.       Defendants admit that Mainstream Holdings, Inc. (improperly identified as


Mainstream Holdings, L.L.C.) is a Minnesota corporation with its principal place of business in


Minnesota. Defendants deny that Mainstream Holdings, Inc. is a manufacturer or distributor of


hunting products in the State of Iowa.


        5.       Defendants are without sufficient information to form a belief as to the matters


stated in paragraph 5 of Plaintiff s complaint, and therefore, those allegations are denied.


        6.       Defendants are without sufficient information to form a belief as to the matters


stated in paragraph 6 of Plaintiff s complaint, and therefore, those allegations are denied.


        7.       Defendants are without sufficient information to form a belief as to the matters


stated in paragraph 7 of Plaintiffs complaint, and therefore, those allegations are denied.


        8.       Defendants are without sufficient information to form a belief as to the matters


stated in paragraph 8 of Plaintiff s complaint, and therefore, those allegations are denied.



                                                  2

204964158.1 36334/307478
        Case 3:16-cv-03096-LTS-CJW Document 6 Filed 09/08/16 Page 2 of 7
        9.       Defendants are without sufficient information to form a belief as to the matters


stated in paragraph 9 of Plaintiff s complaint, and therefore, those allegations are denied.


    COUNT I - PRODUCTS LIABILITY AND BREACH OF EXPRESS WARRANTY,
        IMPLIED WARRANTY OF MERCHANTABILITY AND FITNESS FOR A
                                    PARTICULAR PURPOSE


        10.      Defendants incorporate herein by reference each and every answer set forth in

paragraphs 1-9 as though set forth herein.


        1 1.     Defendants admit that BGHA, Inc. exercised reasonable care, its climbing sticks


are fit, suitable and safe for its intended purpose, are not defective in its design, are packaged

with proper warnings and instructions, and are not manufactured defectively. Defendants deny


that Mainstream Holdings, Inc. was a manufacturer or distributor of climbing sticks. Defendants


deny the remaining allegations in paragraph 1 1 of Plaintiffs complaint.


        12.      Defendants deny the allegations in paragraph 12, including subparagraphs a.-g., of


Plaintiffs complaint.


        13.      Defendants admit that BGHA, Inc. exercised reasonable care, its climbing sticks

are fit, suitable and safe for its intended purpose, are not defective in its design, are packaged


with proper warnings and instructions, and are not manufactured defectively.       Defendants deny


that Mainstream Holdings, Inc. was a manufacturer or distributor of climbing sticks. Defendants


deny the remaining allegations in paragraph 1 3 of Plaintiffs complaint.


                                             DAMAGES

        14.      Defendants incorporate herein by reference each and every answer set forth in


paragraphs 1-13 as though set forth herein.


        15.      Defendants deny the allegations in paragraph 15, including subparagraphs a.-e., of


Plaintiffs complaint.



                                                 3

204964158.1 36334/307478
        Case 3:16-cv-03096-LTS-CJW Document 6 Filed 09/08/16 Page 3 of 7
           16.   Defendants are without sufficient information to form a belief as to the matters

stated in paragraph 16 of Plaintiffs complaint, and therefore, those allegations are denied.


Defendants do not contest that Plaintiffs claim for damages is greater than $75,000.


           WHEREFORE, BGHA, Inc. (improperly identified as Big Game Treestands) and

Mainstream Holdings, Inc. (improperly identified as MS Holdings, LLC and Mainstream


Holdings, L.L.C.) (collectively "Defendants"), request a judgment of no cause of action and


dismissal of this action in its entirety.


                           SPECIAL AND/OR AFFIRMATIVE DEFENSES


           1.    Upon information and belief, some or all of the claims asserted by Plaintiff are


barred by the applicable statutes of limitation.


          2.     The Complaint fails to state a claim upon which relief can be granted.


          3.     The Plaintiff had a duty to mitigate damages and may have failed to do so.


Accordingly, Defendants shall have no liability to the extent the Plaintiff failed to mitigate his


damages.


          4.     The Plaintiff failed to exercise reasonable care and caution for his own safety and


such conduct was the sole and/or contributing cause of Plaintiff's own injuries and damages


alleged.


          5.     Plaintiffs alleged accident and injuries, if any, were caused or contributed to by

the independent acts and/or negligence of the Plaintiff which were sufficient to bar any recovery


herein.


           6.    Plaintiffs alleged accident and injuries, if any, were caused or contributed


to by the independent acts and/or negligence of third parties, over whom these Defendants had


no control, and for whom it is not responsible.



                                                   4

204964158.1 36334/307478
           Case 3:16-cv-03096-LTS-CJW Document 6 Filed 09/08/16 Page 4 of 7
         7.      When the product left the control of the Defendant, it conformed with all

applicable public and private product standards.


         8.      Plaintiffs alleged accident and injuries, if any, were caused by Plaintiffs

abuse and/or misuse of the product.


         9.     The product about which Plaintiff complains, was materially altered and/or

modified after it left the control of the Defendant.

         10.     Plaintiffs voluntarily assumed a known and obvious risk to his safety, which

bars any recovery herein.


         11.     The risk of harm of which Plaintiff complains was open and obvious and/or a

matter of common knowledge.


         12.     Plaintiffs claims are barred by legal and equitable estoppel.


         13.     Plaintiffs claims are barred by waiver, release, satisfaction, discharge or

by other operation of law and he has forfeited any and all claims he may have against Defendant.

         14.     Plaintiff misused the product and as such all claims are barred.


         15.    The prayer for punitive damages is in violation of the Fifth, Sixth, Seventh, Eight,

and Fourteenth Amendments of the United States Constitution in violation of the due process and

equal protection clauses of the Iowa Constitution and such claims for punitive damages are not

supported by the facts of this case.


        16.      Defendant alleges that Plaintiffs product liability claims are barred by sections of

the Restatement (3rd) of Torts § Products Liability.

        17.      Plaintiffs claims are barred in whole or part because the subject product was

designed, manufactured, marketed, and labeled with proper warnings, and instructions in

accordance with the state of the art and state of scientific and technical knowledge. Defendant


                                                   5

204964158.1 36334/307478
        Case 3:16-cv-03096-LTS-CJW Document 6 Filed 09/08/16 Page 5 of 7
invokes all state of the art defenses applicable to Plaintiffs claims, including the state of the


art applicable to the industry in question.


           18.        Defendant asserts the defense of comparative fault. To the extent Plaintiff was

himself at fault. Plaintiffs recovery, if any. should be reduced by the comparative fault,


negligence, responsibility, or causation attributable to one or more third parties or to the

decedent, over whom the Defendants had no control and for whom Defendants are not liable.


           19.        To the extent the Plaintiff has incurred damages, such damages may have been a


result of an intervening or superseding events, factors, occurrences, or conditions which were not


caused by Defendants and for which Defendants are not responsible or liable.


           20.        Defendants did not design, manufacture and/or distribute the subject climbing

slick.


           21.        Discovery is ongoing and the Defendants reserve the right to amend, delete,


add or alter these affirmative defenses.


                                                 JURY DEMAND


           Defendants hereby request a jury trial with respect to ^             day of September, 2016.




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204964 158. 1 3 63 3 4/3 074 7S
           Case 3:16-cv-03096-LTS-CJW Document 6 Filed 09/08/16 Page 6 of 7
                                   CERTIFICATE OF SERV I C E


        The undersigned hereby certifies that a true and exact copy of the foregoing pleading was
mailed to:
                           Bruce H. Stoltze (AT0007521)
                           STOLTZE & STOLTZE, PLC
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by placing it in the United States Mail with sufficient postage thereto to carry it to its destination.


        This        day of September, 20 1 6.


                                                                                         '/-/ J




                                                   7


204964158.1 36334/307478
        Case 3:16-cv-03096-LTS-CJW Document 6 Filed 09/08/16 Page 7 of 7
